                              NUMBER 13-16-00338-CV

                              COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI - EDINBURG
____________________________________________________________

TIMOTHY RAY GRANT,                                                              Appellant,

                                             v.

ANDREA ELEASE MYERS,                                Appellee.
____________________________________________________________

             On Appeal from the 329th District Court
                   of Wharton County, Texas.
____________________________________________________________

                           MEMORANDUM OPINION
        Before Chief Justice Valdez and Justices Garza and Longoria
                     Memorandum Opinion Per Curiam

       Appellant, Timothy Ray Grant, appealed a judgment entered by the 329th District

Court of Wharton County, Texas. On June 27, 2016, the Clerk of this Court notified

appellant that the notice of appeal failed to comply with Texas Rule of Appellate

Procedure 9.5(e) and 25.1(d)(4). See TEX. R. APP. P. 9.5(e), 25.1(d)(4). The Clerk

directed appellant to file an amended notice of appeal with the district clerk's office within
30 days from the date of that notice. On August 8, 2016, the Clerk notified appellant that

the defect had not been corrected and warned appellant that the appeal would be

dismissed if the defect was not cured within ten days. Appellant has not responded to

the notice from the Clerk or corrected the defect.

       On July 28, 2016, the Clerk of this Court notified appellant, in accordance with

Texas Rule of Appellate Procedure 42.3(c), that we would dismiss this appeal unless the

$205.00 filing fee was paid. See TEX. R. APP. P. 42.3(c). Appellant has not responded

to the notice from the Clerk or paid the $205.00 filing fee. See TEX. R. APP. P. 5, 12.1(b).

       The Court, having considered the documents on file and appellant’s failure to

correct the defect or pay the filing fee, is of the opinion that the appeal should be

dismissed.   See id. 37.3, 42.3(b),(c).    Accordingly, the appeal is DISMISSED FOR

WANT OF PROSECUTION.

                                                 PER CURIAM

Delivered and filed this
2nd day of September, 2016.




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